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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


   MATTHEW MORRIS,

                  Plaintiff,
                                                               Case No. ________________
   v.
                                                               JURY TRIAL DEMANDED
   PAYCOM PAYROLL, LLC,
   BRENDAN P. NUESSLE, and
   AMY MINOTTI

                  Defendant.

                                          COMPLAINT

         Plaintiff Matthew Morris (“Plaintiff” or “Mr. Morris”) by his undersigned counsel, Derek

  Smith Law Group, PLLC, hereby complains of Defendant Paycom Payroll, LLC (“Defendant

  Paycom” or the “Company”), Brendan P. Nuessle (“Defendant Nuessle”), Amy Minotti

  (“Defendant Minotti”) and alleges as follows:

                                        INTRODUCTION

         1.      This case is about a family man whose employer terminated him 5 days after he

  requested paternity leave.

         2.      Plaintiff Matthew Morris brings this action pursuant to the Family and Medical

  Leave Act 29 U.S.C. § 825.220 (“FMLA”).             Mr. Morris seeks monetary relief to redress

  Defendant’s unlawful employment practices in violation of the FMLA.

         3.      In short, this is a simple FMLA action. Defendants interfered with Plaintiff’s

  FMLA rights immediately after he inquired about paternity leave, and then retaliated against him

  by terminating Mr. Morris because he requested FMLA leave.




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         4.      Mr. Morris, a salesman, requested paternity leave to care for his pregnant wife and

  newborn child as Plaintiff’s family was set to welcome its second child, their first being two years

  old.   However, Defendants made clear Paycom was not the family-oriented corporation it

  purported to be. Indeed, Defendants began retaliating and interfering with Plaintiff’s FMLA rights

  immediately after Mr. Morris inquired about paternity leave..

         5.      Defendant Nuessle, placed Mr. Morris on a “final warning” two days after he

  requested paternity leave notwithstanding representations that Mr. Morris could depend on his job

  security. The next day, Defendant Nuessle joked about “Matthew working at Starbucks.” Then,

  weeks later, at the behest of Defendant Minotti, Defendant Nuessle terminated Mr. Morris five

  days after he filed for FMLA leave.

         6.      Consequently, Mr. Morris was out of work, out of health insurance, and out of a

  vestment of Paycom Payroll stock he rightfully earned by selling more than a million dollars’

  worth of sales, outperforming thousands of Paycom employees. Meanwhile, Mr. Morris and his

  family now faced the prospects of bringing a second child into the world with no dependable

  income.

         7.      At bottom, Defendants are liable for interfering with a plaintiff’s FMLA rights and

  for terminating Mr. Morris because he filed for FMLA leave.

                                  JURISDICTION AND VENUE

         8.      The Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

  (federal question) and 28 U.S.C. § 1367 (supplemental jurisdiction).

         9.      Venue is proper in the Southern District of Florida under 28 U.S.C. § 1391(b)

  because a substantial portion of the acts or omissions giving rise to this action occurred in the

  Southern District of Florida.




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                                              PARTIES

         10.     Plaintiff Matthew Morris is an individual man and a citizen of Florida.

         11.     Plaintiff is expressly authorized to bring this action by FMLA.

         12.     Plaintiff is an “eligible employee” pursuant to 29 CFR § 825.110(a)(1) because Mr.

  Morris was employed by Defendant Paycom Payroll, LLC for more than 12 months, and Plaintiff

  was employed for at least 1,250 hours of service during the 12-month period immediately

  preceding exercising his FMLA rights.

         13.     Defendant Paycom Payroll, LLC is a foreign limited liability company, registered

  under the laws of Delaware, with its principal place of business located at 7501 W Memorial Rd.,

  Oklahoma City, Oklahoma 73142, and a location at 1223 Brickell Ave, Suite 800, Miami Florida

  33131 (the “Miami Office”).

         14.     Defendant Paycom is a “covered employer” within the meaning of the FMLA,

  because, pursuant to 29 C.F.R. § 825.104(a), Paycom Payroll, LLC employs more than 50

  employees throughout the current and preceding calendar year.

         15.     Defendant Brendan Nuessle is an individual man and is believed to be a citizen of

  Florida.

         16.     Defendant Nuessle is Paycom’s “Miami Sales Manager” and Plaintiff’s immediate

  supervisor. Mr. Nuessle held direct supervisory authority over Plaintiff, controlling various terms

  and conditions of his employment.

         17.     Defendant Nuessle is a “covered employer” within the meaning of the FMLA

  because, pursuant to 29 U.S.C. § 2611(4)(A)(ii)(I), Defendant Nuessle is a “person who acts,

  directly or indirectly, in the interest of an employer to any of the employees of such employer.”




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         18.     Defendant Amy Minotti is an individual woman and is believed to be a citizen of

  Georgia.

         19.     Defendant Minotti is the “Southeast VP of Sales at Paycom Software.” Defendant

  Minotti held direct supervisory authority over Plaintiff, controlling various terms and conditions

  of his employment.

         20.     Defendant Minotti worked in tandem with Defendant Nuessle, overseeing the

  activities of the Miami Office, including ultimate employee decisions, including authorizing

  Paycom to terminate Mr. Morris after he filed for FMLA leave.

         21.     Defendant Minotti is a “covered employer” within the meaning of the FMLA

  because, pursuant to 29 U.S.C. § 2611(4)(A)(ii)(I), Defendant Minotti is a “person who acts,

  directly or indirectly, in the interest of an employer to any of the employees of such employer.”

                                   FACTUAL ALLEGATIONS

         22.     Plaintiff Matthew Morris is a thirty-three-year-old man.

         23.     Mr. Morris is married and the father of a toddler and an infant.

         24.     On or about November 4, 2014, Defendant Paycom hired Mr. Morris as an

  “Executive Sales Representative.” Plaintiff sold Paycom’s payroll services to clients including

  casinos, restaurants, and major shopping centers.

         25.     Mr. Morris has a demonstrated history of successful sales figures, and managerial

  promotions. For instance, in or around 2017, Mr. Morris earned the “Bronze Eagle Award,” a

  Paycom reward reserved for only its top performing salespeople. Mr. Morris finished top ten in

  the Company, performing at 240% of his sales plan, selling over a million dollars in revenue.

         26.      In exchange for Plaintiff’s performance, Paycom provided Mr. Morris with a stock

  divestment of 909 Paycom Payroll shares (“PAYC”) over a three-year vest, beginning in April of




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  2019 to April of 2021. Specifically, Paycom promised to pay Plaintiff a 303-share vest of PAYC

  on April 23, 2019, April 23, 2020, and finally, on April 23, 2021.

          27.     However, Paycom did not provide Plaintiff with his last vestment. Instead, Paycom

  terminated Mr. Morris on or about March 23, 2021, five days after he filed his FMLA paperwork,

  and a month to the day of his final PAYC vestment.

          28.     In or around 2019, Mr. Morris transferred to Paycom’s Miami Office, where Mr.

  Morris worked on a team of about 12 executive sales representatives. During Plaintiff’s first year

  in Miami, Mr. Morris once again performed at 240% of his overall plan. Then in 2020, amid the

  bleak COVID-19 economic outlook, Plaintiff performed to 93% of his overall plan, during a year

  Paycom was seeing low numbers across the board.1

          29.     Plaintiff was one of Defendant Paycom’s most decorated salespeople. However,

  once Mr. Morris informed Defendants that his wife was expecting a second child, Plaintiff’s sales

  numbers—and his employment and the last 303 shares of PAYC—fell by the wayside.

        Defendants Retaliate Against Plaintiff After He Inquires About Paternity Leave

          30.     On or about February 8, 2021, Mr. Morris attended his weekly Monday meeting

  with Mr. Nuessle.

          31.      Around this time, like most salespeople with the Company, Mr. Morris was

  concerned about his sales figures in an unsure post-pandemic market. However, Mr. Nuessle

  reassured Mr. Morris he would be fine. Indeed, Mr. Nuessle said, “I know you’re under stress, but

  if you’re worried about your job, you have nothing to worry about.” Mr. Nuessle said, “I’ll be

  transparent with you—you are safe.”




  1
    Paycom Payroll LCC provides payroll services for businesses. As such, their business model depends on the
  economy and, particularly, the country’s employment rate.


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          32.    Mr. Morris had a great working relationship with Mr. Nuessle during Plaintiff’s

  first years in Miami. The two got along well and Mr. Morris enjoyed reporting to Mr. Nuessle.

  However, things immediately changed after Mr. Morris inquired about paternity leave.

          33.    On or about February 9, 2021, Mr. Morris filed an inquiry with Defendants’ H.R.

  regarding the Company’s paternity process.

          34.    On or about February 10, 2021, Taylor Mcmullen (“Ms. Mcmullen”), Paycom’s

  then “HR Benefits-Leave Analysist,” told Mr. Morris that “Paycom offers paid family leave.”

          35.    On that same day, following Mr. Morris’ effort to secure paid leave, after business

  hours, Mr. Nuessle initiated a series of retaliatory events against Plaintiff. Mr. Nuessle contacted

  Plaintiff and demanded Mr. Morris to create a “vidyard”—a short video Paycom employees sent

  to prospective clients.

          36.    Mr. Morris knew the importance vidyards had to his sales numbers, so he wanted

  his next one to be perfect. Mr. Morris told Mr. Nuessle he was getting a haircut in the morning,

  and said it would be best if he waited because he wanted to look his best for new potential

  customers. However, Mr. Nuessle insisted. Mr. Morris, unclear of where Mr. Nuessle was coming

  from, asked Mr. Nuessle if anyone else was making a vidyard. “No,” Mr. Nuessle said, “but you

  are.”

          37.    Mr. Nuessle insisted that Mr. Morris send Mr. Nuessle and Ms. Minotti Plaintiff’s

  vidyard.

          38.    On or about February 11, 2021, Plaintiff and Mr. Nuessle met to discuss strategies

  for obtaining new clients. Mr. Morris said, “I could mention about me becoming a dad.” Mr.

  Nuessle did not take too kindly to such suggestion.




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         39.      On or about February 12, 2021, after conferring with Ms. Minotti, Mr. Nuessle

  reprimanded Mr. Morris, providing him with a “final write up.”

         40.      To be sure, this was Plaintiff’s first disciplinary action in the last two of his nearly

  seven years of employment.

         41.      Later that week, during a team meeting, Mr. Nuessle said, “Maybe Matthew will

  work at Starbucks.”

         42.      Mr. Morris was humiliated by Mr. Nuessle’s comments, and disgusted that he

  would even make such a remark. Plaintiff did not understand why, all of a sudden, Mr. Nuessle

  had a vendetta for Mr. Morris the days after he inquired about paternity leave.

               Defendants Terminate Plaintiff Days After He Files FMLA Paperwork

         43.      In or around early March of 2021, Mr. Morris began the official FMLA paperwork

  process with Paycom. Around this time, and despite Mr. Morris making his efforts known, the

  Company’s H.R. notified Mr. Nuessle that Plaintiff intended to take paternity leave beginning on

  or about March 26, 2021.

         44.      On or about March 17, 2021, Mr. Morris submitted all the required documentation

  and certification to have his leave approved.

         45.      Around this time, Mr. Nuessle and Ms. Minotti discussed Plaintiff’s future with the

  Company.

         46.      On or about March 23, 2021, the Company terminated Plaintiff.

         47.      Here Mr. Morris was, out of work after requesting FMLA leave. His insurance was

  set to expire on the last day of March, and his wife was weeks away from giving birth to their

  second child.




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          48.     Moreover, Plaintiff’s stock divestment of 303 shares was about to vest on or about

  April 23, 2021.2 However, Defendant Paycom blocked Mr. Morris’ right to those shares by

  wrongfully terminating him. In fact, Defendant Paycom terminated Mr. Morris one month to the

  day of his third and final divestment of shares.

          49.     At thirty-three, Mr. Morris was depending on those funds for his family’s future.

  Indeed, Mr. Morris did not intend to sell his stock divestment right away, but instead planned to

  hold the shares for retirement. Hence, Defendants deprived Mr. Morris of his rightfully owned

  stock divestment by wrongfully terminating him.

          50.     The above are just some of the examples of the unlawful actions Defendants

  subjected Plaintiff to.

          51.     Defendants unlawfully terminated Plaintiff because he requested FMLA leave.

          52.     Defendants did not act in good faith and had no reasonable grounds for believing

  they did not violate the FMLA by terminating Plaintiff 5 days after he requested FMLA leave.

          53.     As a result of Defendants’ unlawful conduct, Plaintiff has suffered damages,

  including but not limited to financial and economic damages, lost wages (back pay and front pay)

  and benefits, advancement opportunities with Defendants, and continues to suffer the same.

          54.     At bottom, Defendants are liable for terminating Plaintiff because he requested

  FMLA leave.




  2
        “PAYC”        was     trading  at    approximately   $399.59   on   April   23,   2021.   See
  https://in.finance.yahoo.com/quote/PAYC/history/


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                                        CAUSES OF ACTION

                                             COUNT I
                                    FMLA, 29 U.S.C. § 2615(a)(1)
                                      Interference with Rights
                                      (Against all Defendants)

         55.      Plaintiff reincorporates the allegations in paragraphs 15-35.

         56.      The FMLA states, in pertinent part:

                         Subject to section 2613 of this title, an eligible employee shall be entitled
                         to a total of 12 workweeks of leave during any 12-month period for one or
                         more of the following:

                                   (A) Because of the birth of a son or daughter of the
                                       employee and in order to care for such son or
                                       daughter. (emphasis added).

         57.      The FMLA prohibits an employer from discharging an individual for asserting his

  rights under the FMLA. 29 U.S.C. § 2615(a).

         58.      Furthermore, the FMLA states, “It shall be unlawful for any employer to interfere

  with, restrain, or deny the exercise of or the attempt to exercise, any right provided under this

  subchapter.” 29 U.S.C. § 2615(a)(1).

         59.      The FMLA defines an “employer” as “any person who acts, directly or indirectly,

  in the interest of an employer to any of the employees of such employer.”             29 U.S.C. §

  2611(4(A)(ii)(I).

         60.      To establish a claim of FMLA interference, an employee must show: (1) he was

  eligible for the FMLA’s protections; (2) the employer was covered by the FMLA; (3) the employee

  was entitled to leave under the FMLA; (4) the employee gave his employer notice of his intention

  to take leave; and (5) the employer denied the employee’s FMLA benefits to which the employee

  was entitled.




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            61.     First, Plaintiff was an eligible employee under the FMLA. Plaintiff is an eligible

   employee under the FMLA because he worked for Defendant for more than 12 months, and

   Defendant employed Plaintiff for at least 1,250 hours of service during the 12-month period

   immediately preceding exercising his FMLA rights.

            62.     Second, Defendant Paycom is a covered employer by the FMLA because Paycom

   Payroll, LLC employed more than 50 employees throughout the current and preceding calendar

   years.

            63.     Similarly, Defendant Nuessle and Defendant Minotti are covered employers

   because both Defendant and Defendant Minotti acted in the interest of Defendant Paycom in

   deciding to terminate Plaintiff.3         Moreover, Defendant Nuessle and Defendant Minotti had

   supervisory authority over Plaintiff, including the power to terminate Plaintiff, in addition to

   supervising and controlling Plaintiff’s work schedules and his conditions of employment, his rate

   and method of pay, and exercised personal responsibility for making decisions that contributed to

   interfere with Plaintiff’s FMLA rights.

            64.     Third, as an eligible employee, Plaintiff was entitled to leave under the FMLA to

   care for his newborn daughter.

            65.     Fourth, Plaintiff provided notice to Defendants regarding his intent to take FMLA

   leave. On or about February 10, 2021, Plaintiff inquired about FMLA leave with Defendant

   Paycom. On or about February 11, 2021, Plaintiff told Defendant Nuessle he was having a second

   child. On or about March 17, 2021, Plaintiff filed paperwork to take FMLA leave.

            66.     Finally, Defendants denied Plaintiff his FMLA leave to which he was entitled

   because Defendants terminated Plaintiff’s employment.


   3
    The FMLA defines an “employer” as “any person who acts, directly or indirectly, in the interest of an employer to
   any of the employees of such employer.” 29 U.S.C. § 2611(4(A)(ii)(I).


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          67.     As an actual and proximate result of Defendants’ interference with Plaintiff’s

   FMLA rights, Plaintiff has suffered damages.

                                             COUNT II
                                     FMLA, 29 U.S.C. § 2615(a)(2)
                                             Retaliation
                                       (Against all Defendants)

          68.     Plaintiff reincorporates the allegations in paragraphs 15-40.

          69.     The FMLA states, in pertinent part, that

                          Subject to section 2613 of this title, an eligible employee shall be entitled
                          to a total of 12 workweeks of leave during any 12-month period for one or
                          more of the following:

                                    (B) Because of the birth of a son or daughter of the
                                        employee and in order to care for such son or
                                        daughter. (emphasis added).

          70.     The FMLA prohibits an employer from discharging an individual for asserting his

   rights under the FMLA. 29 U.S.C. § 2615(a)(2).

          71.     Plaintiff is an eligible employee under the FMLA because he worked for Defendant

   for more than 12 months, and Defendant employed Plaintiff for at least 1,250 hours of service

   during the 12-month period immediately preceding exercising his FMLA rights.

          72.     Defendant Paycom is a covered employer by the FMLA because Paycom Payroll,

   LLC employed more than 50 employees throughout the current and preceding calendar years.

          73.     Defendant Nuessle and Defendant Minotti are covered employers because both

   Defendant and Defendant Minotti are persons who acted directly and/or indirectly in the interest

   of Defendant Paycom in deciding to terminate Plaintiff. See 29 U.S.C. § 2611(4(A)(ii)(I).

          74.     Moreover, Defendant Nuessle and Defendant Minotti had supervisory authority

   over Plaintiff, including the power to terminate Plaintiff, in addition to supervising and controlling

   Plaintiff’s work schedules and his conditions of employment, his rate and method of pay, and



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   exercised personal responsibility for making decisions that contributed to interfere with Plaintiff’s

   FMLA rights.

          75.     To allege retaliation under the FMLA, an employee must show: (1) he engaged in

   a statutorily protected activity; (2) he suffered a materially adverse action; and (3) the adverse

   action was causally related to the protected activity.

          76.     Plaintiff engaged in statutorily protected activity, among other ways, on or about

   February 9, 2021, when he inquired about Defendants’ paternity leave program.

          77.     On or about February 10, 2021, Defendant Paycom Payroll, LLC initiated a series

   of retaliatory actions that would dissuade a reasonable person from asserting his rights under the

   FMLA.

          78.     That day, Defendant Nuessle asked Plaintiff to make a video of himself conducting

   a sales pitch. Plaintiff said he was tending to his family and he would need to shower and dress

   himself in a suit. Plaintiff asked if anyone else had to do this, and Mr. Nuessle said, “No, but you

   are.” Defendant Nuessle told Plaintiff to send a video to Defendant Nuessle and Defendant

   Minotti.

          79.     On or about February 11, 2021, Plaintiff told Mr. Nuessle he could use his

   forthcoming fatherhood to incentivize clients.

          80.     On or about February 12, 2021, Defendant Nuessle, acting as an agent and

   supervisor of Defendant Paycom Payroll, LLC gave Plaintiff a “final write up.” This does not

   comport with Defendant Nuessle’s assurance on or about February 8, 2021—before Plaintiff

   inquired about paternity leave—that Plaintiff had “nothing to worry about.”

          81.     Defendant Nuessle and Defendant Minotti conferred on behalf of Defendant

   Paycom prior to reprimanding Plaintiff.




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          82.     On or about March 18, 2021, Plaintiff again engaged in statutorily protected activity

   by submitting the required FMLA paperwork to Defendant Paycom Payroll, LLC.

          83.     On or about March 23, 2021, Defendant Paycom Payroll, LLC terminated Plaintiff.

          84.     Defendant Nuessle and Defendant Minotti discussed terminating Plaintiff before

   terminating Plaintiff on behalf of Defendant Paycom.

          85.     On or about April 23, 2021, Plaintiff was set to receive a stock vestment of 303

   shares of PAYC for his excellent sales performance in 2017. However, Defendant Paycom

   terminated Plaintiff because he filed his FMLA paperwork.

          86.     Hence, Plaintiff suffered multiple materially adverse actions.

          87.     Indeed, any reasonable employee in Plaintiff’s position would be dissuaded from

   exercising his rights under the FMLA if he knew he would be terminated, he would lose his health

   insurance, and he would lose out on a stock divestment of 303-shares trading at about $400 a share.

          88.     Plaintiff’s materially adverse actions are causally connected to Plaintiff’s protected

   activity under the FMLA. Indeed, five (5) days after Plaintiff requested FMLA leave to care for

   his pregnant wife, Defendant terminated his employment

          89.     Thus, on temporal proximity alone, Plaintiff’s materially adverse action is causally

   connected to his protected activity under the FMLA.

          90.     As a result of Defendant’s unlawful retaliation in violation of 29 U.S.C. §

   2615(a)(2), Plaintiff has suffered damages.

                                           COUNT III
                               Breach of Good Faith and Fair Dealing
                                   (Against Defendant Paycom)

          91.     Plaintiff reincorporates the allegations contained in paragraphs 15-20.




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           92.        A stock award agreement existed between Plaintiff and Defendant Paycom in

   exchange for Plaintiff’s 2017 sales figures. In consideration for Plaintiff selling more than a

   million dollars in sales, achieving the “Bronze Eagle Award,” Defendant Paycom promised to

   provide Plaintiff with 909 shares of PAYC stock, set to divest over three years.

           93.        In addition to the contract’s express and/or implied terms, the agreement included

   an implied covenant of good faith and fair dealing, requiring Plaintiff and Defendant Paycom to

   act with fairness and in good faith to each other.

           94.        Moreover, the agreement included an implied covenant to refrain from hindering

   or impeding the other party in the performance of the contract and prohibiting the parties from

   taking any action engineered to prevent the other from enjoying the benefits of the contract.

           95.        However, Defendant Paycom prevented Plaintiff from enjoying his final vestment

   of 303 PAYC shares. Indeed, Defendant Paycom breached the agreement inter alia, by terminating

   Plaintiff as a pretext to cheat him out of the final vesting of 303 PAYC shares, which Plaintiff was

   entitled because of his performance in 2017. As a result, Plaintiff lost out of a stock vestment,

   which, at the time, was valued at $120,075.77, based on the trading price of $399.59.

           96.        As a result of Defendant Paycom’s breach, Plaintiff has suffered damages as set

   forth above, including, without limitation, the value of the lost 303 PAYC, in an amount to be

   proven at trial.

                                                COUNT IV
                                            Unjust Enrichment
                                        (Against Defendant Paycom)

           97.        Plaintiff reincorporates the allegations contained in paragraphs 15-40.

           98.        To state a claim for unjust enrichment, a plaintiff must establish that (1) he

   conferred a benefit of the defendant, (2) the defendant has knowledge of the benefit, (3) the




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   defendant voluntarily accepted the benefit without payment, and (4) the circumstances that exist

   are such that it would be inequitable for the defendant to keep the benefit without any payment.

          99.     Plaintiff conferred a benefit on Defendant Paycom by selling more than one million

   dollars in sales for the calendar year of 2017.

          100.    Paycom had knowledge of the benefit conferred by Plaintiff because Plaintiff

   earned revenue for Defendant Paycom.

          101.    Defendant Paycom voluntarily accepted and retained the benefit conferred by

   Plaintiff without full payment to Plaintiff. Paycom further provided Plaintiff the “Bronze Eagle

   Award” in exchange for the benefit conferred to Paycom, yet failed to pay Plaintiff the 909 shares

   Paycom promised.

          102.    Plaintiff earning more than a million dollars in sales for Defendant Paycom.

   Defendant Paycom’s failure to pay Plaintiff—terminating him in retaliation—specifically to avoid

   paying him the last vestment is inequitable.

          103.    Defendant Paycom awarded Plaintiff 909 PAYC because of his 2017 sales, not for

   any future work. Paycom already received the value from Plaintiff and agreed to give Plaintiff

   909 PAYC as an equitable award. However, Paycom did not fulfill their agreement. Paycom only

   administered 606 PAYC to Plaintiff.

          104.    Defendant Paycom inequitably benefitted by withholding 303 PAYC sjares from

   Plaintiff that was set to vest on April 23, 2021.

          105.    The situation is not equitable unless Defendant Paycom provides Plaintiff with the

   remaining 303 agreed-upon PAYC shares.

          106.    Plaintiff continued to work for Paycom with the understanding that 909 PAYC

   would vest over three years. Plaintiff worked each day from April 23, 2020, through March 23,




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   2021, with the understanding that he would receive the last installment of 303 PAYC on April 23,

   2021.

           107.   Plaintiff will not equitably benefit from the value he conferred to Paycom until he

   is justly provided with the 303 PAYC he was awarded several years ago.

           108.   Plaintiff has suffered damages as a result of Defendant Paycom’s breach of the

   implied covenant of fair dealing.

                                                COUNT V
                                          Promissory Estoppel
                                       (Against Defendant Paycom)

           109.   Plaintiff reincorporates the allegations in paragraphs 15-40.

           110.   To state a claim for promissory estoppel, a plaintiff must demonstrate: (1)

   detrimental reliance on the part of the plaintiff as to the defendant's promise; (2) the defendant

   reasonably should have expected the promise to induce reliance in the form of action or

   forbearance by the plaintiff; and (3) injustice can only be avoided by enforcement of the promise.

           111.   A clear promise was made by Defendant Paycom to Plaintiff in 2017.

           112.   Defendant Paycom’s promise was unambiguous: The Bronze Eagle Award to

   Plaintiff explicitly stated that he would receive 909 shares of PAYC 909. Paycom’s promise

   further stated that 303 PAYC would vest annually for three years.

           113.   Plaintiff detrimentally relied on Paycom’s promise. Plaintiff is a 33-year-old man

   with a pregnant wife and a child at home. Plaintiff relied on the income and/or the financial

   safeguard of his 606 vested shares of PAYC, and particularly, the final vesting of 303 shares to

   support his growing family.




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          114.    Consequently, Plaintiff’s position changed for the worse in relying on, and not

   receiving, Defendant Paycom’s promise of the full 909 PAYC shares. Thus, Plaintiff detrimentally

   relied on Defendant Paycom.

          115.    Plaintiff’s reliance on the promise made by Defendant Paycom was reasonable.

   Stock awards are a standard compensation transaction used by employers to entice a successful

   employee to continue performing at a high level for them instead of leaving for another company

   or performing at a lower level. Because this is a standard procedure used to retain employees

   Plaintiff reasonably relied on the offer by Defendant Paycom. The Bronze Eagle Award was not

   a random bonus, but rather an award that carried with it a date of payment and an understood

   method of calculation.

          116.    Plaintiff expressly stated that his wife was pregnant, and he would need to take a

   paternity leave under FMLA, unpaid leave. Plaintiff clearly relied on Defendant’s promise to his

   detriment.

          117.    Injustice can be avoided only by the payment of Plaintiff’s rightfully earned final

   vestment of 303 PAYC shares. Otherwise, Defendant PAYC will retain its reward of extraordinary

   revenue from Plaintiff’s performance, earning an award with a specific prize of 303 shares of

   Paycom’s stock.

          118.    As a result of Plaintiff’s detrimental reliance on Paycom following his performance,

   Plaintiff has suffered damages.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment against Defendant Paycom Payroll, LLC

   Defendant Brendan Nuessle, and Defendant Amy Minotti containing the following relief:




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          A.      An order directing Defendants to place Plaintiff in the position he would have had

   but for Defendant’s discriminatory, retaliatory and/or otherwise unlawful treatment of Plaintiff.

          B.      Pursuant to 29 U.S.C. § 2617(a)(1)(A)(i)(I), an award of damages equal to the

   amount of any wages, salary, employment benefits, or other compensation denied or lost to

   Plaintiff because of Defendant’s FMLA violation.

          C.      Against Defendant Paycom, an award of damages in an amount to be determined

   at trial, plus prejudgment interest to compensate Plaintiff for his stock vest of 303 shares of Paycom

   Payroll, LLC (“PAYC”).

          D.      Against Defendants, pursuant to 29 U.S.C. § 2617(a)(1)(A)(iii), an award of

   liquidated damages for intentionally terminating Plaintiff because he requested FMLA leave;

          E.      Against Defendants, Pursuant to 29 U.S.C. § 2617(a)(1)(A)(3), an award against of

   costs that Plaintiff has incurred in this Action, in addition to any judgment awarded to Plaintiff,

   reasonable attorney’s fee, reasonable expert witness fees, and other costs of the action fees plus

   costs and interest to the fullest extent permitted by law; and

          F.      Such other and further relief the Court deems just and proper.

                                          JURY DEMAND

          Plaintiff hereby demands a jury trial of all issues so triable pursuant to Rule 38 of the

   Federal Rules of Civil Procedure.

   Dated: July 1, 2021                                   Respectfully submitted,

                                                         By: /s/ Caroline H. Miller
                                                         Caroline H. Miller, Esq.
                                                         FL Bar No. 1012331
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